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                             Exhibit 4
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                                                                          EXECUTION VERSION


                             INVESTOR MATTERS AGREEMENT

          This INVESTOR MATTERS AGREEMENT (this “Agreement”), dated as of September
  13, 2019, is entered into by and among LC A&A Intermediate Investors LLC (“Lion”), a
  Delaware limited liability company, Alex and Ani Pledge Co., a Rhode Island corporation
  (“Pledge Co.”), Carolyn Rafaelian (together with her affiliated investment vehicles, including
  Pledge Co., the “Founder”) (each of Lion and the Founder, an “Investor”, and together, the
  “Investors”), A and A Shareholding Co., LLC, a Delaware limited liability company (the
  “Company”), and Alex and Ani, LLC, a Delaware limited liability company (“Alex and Ani”,
  and each of the Investors, the Founder, the Company and Alex and Ani a “Party”, and
  collectively, the “Parties”).

          WHEREAS, on August 14, 2019, the Parties have entered into that certain Binding Term
  Sheet (the “Term Sheet”) with respect to a proposed restructuring of the Company and Alex and
  Ani (the “Restructuring”);

          WHEREAS, at the closing of the Restructuring on the date hereof (the “Closing”), each
  Investor will make a loan to Alex and Ani pursuant to the Second Lien Debt Facility (as defined
  in the LLC Agreement (as defined below)) (the “Second Lien Term Loans”);

          WHEREAS, immediately prior to the Closing, Lion has made a cash loan to the Founder
  under that certain Secured Promissory Note (the “Lion-Founder Note”), the proceeds of which
  shall be used by the Founder to fund a portion of the Second Lien Term Loan made by the
  Founder to Alex and Ani at Closing, and which loan has been secured by that certain Pledge
  Agreement entered into by Lion and the Founder on the date hereof (the “Pledge Agreement”)
  and that certain Mortgage made by the Founder in favor of Lion on the date hereof (the
  “Mortgage”, and collectively with the Lion-Founder Note and the Pledge Agreement, the “Lion-
  Founder Note Documents”);

          WHEREAS, at the Closing, the Investors and the Company will enter into that certain
  Third Amended and Restated Limited Liability Company Agreement of the Company (the “LLC
  Agreement”), in order to, among other things, (i) effectuate a recapitalization of the equity of the
  Company pursuant to which (a) all of the outstanding Class A Units of the Company will be
  reclassified and renamed Class B Units (such that one Class A Unit is equal to one Class B Unit)
  and (b) on the terms and subject to the conditions set forth in the applicable Investor Subscription
  Agreement to be entered into at Closing by each Investor, on the one hand, and the Company, on
  the other hand (the “Subscription Agreements”, and collectively with this Agreement, the Second
  Lien Term Loans and the Lion-Founder Note Documents, the “Transaction Agreements”, and the
  transactions contemplated by the Transaction Agreements, the “Transactions”), each of Pledge
  Co. and Lion will be issued new Class A Units in the Company; and

          WHEREAS, in connection with the consummation of the Restructuring and the
  Transactions, and in exchange and consideration for the Parties entering into the Transaction
  Agreements and Lion making the loan to the Founder pursuant to the Lion-Founder Note, the
  Parties have agreed to enter into this Agreement in order to, among other things, release each
  other from certain Claims (as defined below), the Founder exculpating Lion from certain Claims
  and to set forth other agreements relating to the Investors following the consummation of the
  Transactions, in each case, in accordance with and subject to the terms set forth herein.

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          NOW, THEREFORE, in consideration of the premises and mutual promises contained
  herein and for other good and valuable consideration, the receipt and sufficiency of which are
  hereby acknowledged, the Parties agree as follows:

         1.      Mutual Release.

                  (a)      Effective automatically and immediately upon the Closing, the Investors,
  each on behalf of itself and any person claiming by, through or under any such Investor, and
  each of the predecessors, successors, successors-in-interest, assigns, heirs and representatives of
  each of the foregoing persons (but in each case, other than the Company and its subsidiaries),
  hereby forever waives, releases and discharges the other Investor and each such other Investor’s
  current and former affiliates (including the Company and each of its direct and indirect
  subsidiaries), and such entities’ and their current and former affiliates’ current and former
  officers, managers, directors, equity holders (regardless of whether such interests are held
  directly or indirectly), predecessors, successors, and assigns, subsidiaries, and each of their
  current and former officers, managers, directors, equity holders, principals, members, employees,
  agents, managed accounts or funds, management companies, fund advisors, advisory board
  members, financial advisors, partners, attorneys, accountants, investment bankers, consultants,
  representatives, and other professionals, each in their capacity as such, from any and all Claims
  that such releasing party now has or may have in the future against any or all of the released
  parties based in whole or in part on facts existing or arising, whether known or unknown, on or
  before the Closing, that relate to, arise out of or otherwise are in connection with: (i) any act or
  omission, agreement, circumstance, event or other occurrence related to the Company or Alex
  and Ani, the management thereof, including by the board of managers of the Company (the
  “Board”), and/or the LLC Agreement or the Operating Agreement of Alex and Ani and (ii) any
  aspect of the dealings or relationships between or among any or all of the released parties
  relating the foregoing and/or anything relating to or arising out of their business relationship;
  provided, however, that the foregoing shall not release the Parties from their respective
  obligations under the Transaction Agreements. For all purposes of this Agreement, “Claims”
  shall mean all claims (including, without limitation, crossclaims, counterclaims, and rights of
  setoff and/or recoupment), actions, causes of action, charges, complaints, suits, investigations,
  proceedings, debts, dues, sums of money, accounts, reckonings, interests, liens, liabilities,
  promises, warranties, damages, demands, agreements, bonds, bills, specialties, covenants,
  controversies, variances, trespasses, judgments, extents, executions, rights, torts, losses, rights to
  reimbursement, subrogation, contribution, indemnification or other payment, attorneys’ fees,
  costs, expenses or other claims of whatever nature or kind, in each case whether direct or
  derivative, liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
  unknown, suspected or unsuspected, accrued or unaccrued, direct or indirect, foreseen or
  unforeseen, now existing or hereafter arising, in law, equity, or otherwise.

                  (b)      Each Investor expressly acknowledges that the release set forth in this
  Agreement is intended to include in its effect, without limitation, claims that such Investor did
  not know or suspect to exist in its favor at the time of execution hereof, regardless of whether the
  knowledge of such claims, or the facts upon which they might be based, would materially have
  affected the settlement of this matter, and that the consideration given under this Agreement is
  also for the release of those claims and contemplates the extinguishment of any such unknown
  claims. In furtherance of this settlement, each Investor waives any rights it may have under


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  California Civil Code Section 1542 (and other similar statutes and regulations). Section 1542
  states:

                 “A general release does not extend to claims that the creditor or releasing party
                 does not know or suspect to exist in his or her favor at the time of executing the
                 release and that, if known by him or her, would have materially affected his or her
                 settlement with the debtor or released party.”

          2.      Exculpation. From and after the Closing, the Founder shall exculpate Lion and
  its current and former affiliates, and such entities’ and their current and former affiliates’ current
  and former officers, managers, directors, equity holders (regardless of whether such interests are
  held directly or indirectly), predecessors, successors, and assigns, subsidiaries, and each of their
  current and former officers, managers, directors, equity holders, principals, members, employees,
  agents, managed accounts or funds, management companies, fund advisors, advisory board
  members, financial advisors, partners, attorneys, accountants, investment bankers, consultants,
  representatives, and other professionals, from any Claim in connection with or arising out of the
  Transaction Agreements and the Transactions, the Company and Alex and Ani (including the
  management thereof or any actions in connection with serving on the Board) and/or the
  transactions contemplated hereby, other than Claims arising out of or related to any act or
  omission of an exculpated party hereunder that is a criminal act or constitutes intentional fraud,
  in each case, as finally determined by a court of competent jurisdiction.

         3.      Founder Matters.

                 (a)     Employment. From and after the Closing, the Founder will hold the title
  of “Chief Creative Officer” of the Company and its subsidiaries and shall continue to serve as an
  employee of the Company pursuant to and subject to the terms of her current employment
  (including yearly salary of $508,820 and bonus at the Board’s discretion to be determined based
  on the performance of the business of the Company). The Parties acknowledge and agree that
  the Founder’s employment is and shall continue to be at-will (as defined under applicable law)
  consistent with the terms of that certain Key Contributor Agreement, dated as of September 28,
  2012, by and between the Company and Carolyn Rafaelian.

                 (b)     Current State and Tri-Alchemy. For a period of two (2) years following
  the Closing, the Company shall fund the operations of the Current State and Tri-Alchemy lines
  of business of Alex and Ani up to a total amount of $1 million per year, such amount to include
  all research and development costs and operating losses of such lines of business; provided, that
  the Company’s obligations pursuant to this Section 3(b) shall terminate and be of no further
  force and effect upon the termination of employment of the Founder with the Company for any
  reason, whether the Founder is removed or resigns voluntarily.

                  (c)      Intellectual Property Transfer. Upon the earlier to occur of (i) a “Sale
  Transaction” (as defined in the LLC Agreement), (ii) the termination of employment of the
  Founder with the Company for any reason, whether the Founder is removed or resigns
  voluntarily, or (iii) two (2) years after the Closing, the Parties shall enter into an intellectual
  property transfer and assignment agreement in the form attached hereto as Exhibit A (the
  “Assignment Agreement”), pursuant to which the intellectual property listed on Schedule A
  attached thereto shall be transferred and assigned to the Founder and into the Founder’s name

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  (the “IP Transfer”, and the date of the closing of the IP Transfer, the “IP Transfer Date”), in
  exchange for (and conditioned upon) the Founder entering into the Release and Covenant
  Agreement (as defined below); provided, that in the case of (i) or (iii) in the preceding sentence,
  the Founder’s employment with the Company shall be terminated on the date on which the
  Parties enter into the Assignment Agreement unless the Founder has elected in writing not to
  consummate the IP Transfer, and upon the Founder making such election in writing, all of the
  Parties’ rights and obligations in respect of the IP Transfer hereunder shall be null and void. If
  and when consummated in accordance with the term hereof, the IP Transfer shall constitute full
  and complete severance for the Founder in connection with the Founder’s termination of
  employment with the Company and its subsidiaries. The IP Transfer date shall occur
  automatically on the 8th day following the Parties entering into the Assignment Agreement and
  the Release and Covenant Agreement, unless the release with respect to claims arising under the
  ADEA (as defined in the Release and Covenant Agreement) under the Release and Covenant
  Agreement was revoked by the Founder, in which case the IP Transfer shall not occur and the
  parties’ right and obligations under the Assignment Agreement shall be null and void.

                 (d)     Release and Restrictive Covenant Agreement. As a condition precedent to
  and in consideration for the IP Transfer, the Founder hereby agrees and covenants to, on the date
  on which the parties will enter into the Assignment Agreement, execute and deliver an
  agreement of a release of claims and certain restrictive covenants, in the form attached hereto as
  Exhibit B (the “Release and Restrictive Covenant Agreement”). In the event that the Founder
  revokes the release with respect to claims arising under the ADEA (as defined in the Release and
  Covenant Agreement) under the Release and Covenant Agreement, the IP Transfer shall not
  occur and the Release and Restrictive Covenant Agreement shall be null and void (other than
  Section 1 thereof).

         4.      Representations and Warranties.

                (a)    The Founder’s Representations and Warranties. Each of Carolyn
  Rafaelian and Pledge Co. represents and warrants to each of the other Parties that:

                         (i)     Authority. Each of Carolyn Rafaelian and Pledge Co. has the legal
         capacity to execute, deliver and perform this Agreement and the other Transaction
         Agreements. This Agreement constitutes a valid and legally binding obligation of each
         of Carolyn Rafaelian and Pledge Co., enforceable against such party in accordance with
         its terms, except as such enforceability may be limited by bankruptcy, insolvency,
         reorganization, moratorium or similar laws affecting creditors’ rights generally and by
         general principles of equity (regardless of whether enforcement is sought in a proceeding
         at law or in equity).

                         (ii)   Non-Contravention. Each of Carolyn Rafaelian and Pledge Co. is
         legally free to make and perform this Agreement and the other Transaction Agreements
         and has no obligation to any other person that would affect or conflict with any of such
         party’s obligations hereunder or thereunder, and the complete performance of such
         party’s obligations hereunder and thereunder will not violate any contract by which such
         party is bound.



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                         (iii) No Transactions Outside the Ordinary Course. Since January 31,
         2018, except for the transactions contemplated by the Transaction Agreements and except
         as set forth on Schedule 4(a)(iii) attached hereto, the business of the Company and its
         subsidiaries has been conducted in all material respects in the ordinary course of business
         consistent with past practice and no material assets or rights of the Company or any of its
         subsidiaries were directly or indirectly sold, transferred, assigned, pledged, mortgaged,
         exchanged, hypothecated, granted as a security interest or otherwise directly or indirectly
         deposited or encumbered (whether with or without consideration, whether voluntarily or
         involuntarily or by operation of law) other than in the ordinary course of business
         consistent with past practice.

                         (iv)   Survival. The foregoing representations and warranties shall
         survive the effectiveness of this Agreement.

                 (b)     Lion’s Representations and Warranties. Lion represents and warrants to
  each of the other Parties that:

                         (i)    Authority. Lion has the legal capacity to execute, deliver and
         perform this Agreement and the other Transaction Agreements. This Agreement
         constitutes a valid and legally binding obligation of Lion, enforceable against Lion in
         accordance with its terms, except as such enforceability may be limited by bankruptcy,
         insolvency, reorganization, moratorium or similar laws affecting creditors’ rights
         generally and by general principles of equity (regardless of whether enforcement is
         sought in a proceeding at law or in equity).

                        (ii)   Non-Contravention. Lion is legally free to make and perform this
         Agreement and the other Transaction Agreements and has no obligation to any other
         person that would affect or conflict with Lion’s obligations hereunder or thereunder, and
         the complete performance of Lion’s obligations hereunder and thereunder will not violate
         any contract by which Lion is bound.

                         (iii) Survival. The foregoing representations and warranties shall
         survive the effectiveness of this Agreement.

         5.     Other Provisions.

                (a)     Costs and Expenses.

                         (i)    Each Party shall bear its own costs and expenses in connection
         with the consummation of the Transactions; provided, that reasonable and documented
         attorney’s fees and expenses incurred by the Parties in connection with the Transactions
         will be reimbursed by Alex & Ani, LLC at Closing.

                         (ii)    If any litigation or other court action, arbitration or similar
         adjudicatory proceeding is commenced by any Party to enforce its rights under any of the
         Transaction Agreements against any other Party, all fees, costs and expenses, including,
         without limitation, reasonable attorney’s fees and court costs, incurred by the prevailing
         Party in such litigation, arbitration or proceeding shall be reimbursed by the losing Party;


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         provided, that if a Party to such litigation, action, arbitration or proceeding prevails in
         part, and loses in part, the court, arbitrator or other adjudicator presiding over such
         litigation, action, arbitration or proceeding shall award a reimbursement of the fees, costs
         and expenses incurred by such Party on an equitable basis.

                  (b)    Entire Agreement. This Agreement, together with the other Transaction
  Agreements, represent the entire understanding and agreement between the Parties with respect
  to the subject matter hereof and supersede all prior agreements, written or oral, with respect
  thereto.

                   (c)     Waivers and Amendments. This Agreement may only be amended,
  modified or supplemented by an agreement in writing signed by each Party. Except as expressly
  set forth herein, no waiver by any Party of any of the provisions hereof shall be effective unless
  explicitly set forth in writing and signed by the Party so waiving. No waiver by any Party shall
  operate or be construed as a waiver in respect of any failure, breach or default not expressly
  identified by such written waiver, whether of a similar or different character, and whether
  occurring before or after that waiver. No failure to exercise, or delay in exercising, any right,
  remedy, power or privilege arising from this Agreement shall operate or be construed as a waiver
  thereof; nor shall any single or partial exercise of any right, remedy, power or privilege
  hereunder preclude any other or further exercise thereof or the exercise of any other right,
  remedy, power or privilege.

                   (d)    Governing Law. This Agreement, and all claims or causes of action
  (whether in contract or tort) that may be based upon, arise out of or relate to this Agreement or
  the negotiation, execution or performance of this Agreement, will be governed by and construed
  in accordance with the Laws of the State of Delaware without giving effect to principles or rules
  of conflict of laws to the extent such principles or rules would require or permit the application
  of Laws of another jurisdiction.

                  (e)     Process. Each Party hereby consents to process being served by any Party
  to this Agreement in any suit, action or proceeding by delivery of a copy thereof to the address
  set forth next to such Party’s signature in the signature pages attached hereto.

              (f)   Waiver of Jury Trial. EACH PARTY ACKNOWLEDGES AND
  AGREES THAT ANY CONTROVERSY WHICH MAY ARISE UNDER THIS AGREEMENT
  IS LIKELY TO INVOLVE COMPLICATED AND DIFFICULT ISSUES AND, THEREFORE,
  EACH SUCH PARTY IRREVOCABLY AND UNCONDITIONALLY WAIVES ANY RIGHT
  IT MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY LEGAL ACTION ARISING
  OUT OF OR RELATING TO THIS AGREEMENT. EACH PARTY TO THIS AGREEMENT
  CERTIFIES AND ACKNOWLEDGES THAT (A) NO REPRESENTATIVE OF ANY OTHER
  PARTY HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER
  PARTY WOULD NOT SEEK TO ENFORCE THE FOREGOING WAIVER IN THE EVENT
  OF A LEGAL ACTION, (B) SUCH PARTY HAS CONSIDERED THE IMPLICATIONS OF
  THIS WAIVER, (C) SUCH PARTY MAKES THIS WAIVER VOLUNTARILY, AND
  (D) SUCH PARTY HAS BEEN INDUCED TO ENTER INTO THIS AGREEMENT BY,
  AMONG OTHER THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS
  WAIVER OF JURY TRIAL.


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                  (g)    Specific Performance. The Parties agree that irreparable damage would
  occur if any provision of this Agreement were not performed in accordance with the terms hereof
  and that money damages or legal remedies would not be an adequate remedy for any such
  damages and it is accordingly agreed that each Party shall be entitled to specific performance of
  the terms hereof, in addition to any other remedy to which such Party is entitled at law or in
  equity, and in seeking an injunction, a decree or order of specific performance, it shall not be
  required to provide any bond or other security in connection therewith.

                  (h)     No Third Party Beneficiaries; No Assignment. This Agreement is for the
  sole benefit of the parties hereto and their respective successors and permitted assigns and
  nothing herein, express or implied, is intended to or shall confer upon any other person any legal
  or equitable right, benefit or remedy of any nature whatsoever under or by reason of this
  Agreement. This Agreement shall be binding upon and shall inure to the benefit of the parties
  hereto and their respective successors and permitted assigns. No Party may assign its rights or
  obligations hereunder without the prior written consent of the other parties, which consent shall
  not be unreasonably withheld or delayed. No assignment shall relieve the assigning Party of any
  of its obligations hereunder.

                  (i)    Counterparts. This Agreement may be executed in counterparts, each of
  which shall be deemed an original, but all of which together shall be deemed to be one and the
  same agreement. A signed copy of this Agreement delivered by facsimile, e-mail or other means
  of electronic transmission shall be deemed to have the same legal effect as delivery of an original
  signed copy of this Agreement.

                   (j)    Severability. If any term or provision of this Agreement is invalid, illegal
  or unenforceable in any jurisdiction, such invalidity, illegality or unenforceability shall not affect
  any other term or provision of this Agreement or invalidate or render unenforceable such term or
  provision in any other jurisdiction. Upon such determination that any term or other provision is
  invalid, illegal or unenforceable, the parties hereto shall negotiate in good faith to modify this
  Agreement so as to effect the original intent of the parties as closely as possible in a mutually
  acceptable manner in order that the transactions contemplated hereby be consummated as
  originally contemplated to the greatest extent possible.

                                       [Signature Page Follows]




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                IN WITNESS WHEREOF, the Parties have caused this Agreement to be duly
         executed as of the date first set forth above.


               CAROLYN RAFAELIAN


               By:      i Ay\,                    IS'
                                 V            V
               ALEX AND AN1 PLEDGE,CO.
                                                                 *.

               By:       tAs'      A
               Narne:(^Carolyn faelian
               Title: President




                                 [Signature Page to Investor Mutters Agreement]
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                 LC A«&A INTERMEDIATE INVESTORS, LLC


                 By:
                 Name:      Sherif Guirgis
                 Title;     President




                          \Sigmnwe I’age to Investor Matters Agreement]
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                  A AND A SHAREHOLDING CO., LLC



                  By:
                  Name: Robert Trabucco
                  Title:/Chief Restructuring Officer




                                 [Signature Page to Investor Matters Agreement]
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                   ALEX AND AM, LLC


                   By:
                   Name: yRobert Trabucco
                   TM&jX Chief Restructuring Officer




                                  [Signature Page to Investor Matters Agreement]
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                                                                 Schedule 4(a)(iii)
   None.
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                                                                       Exhibit A

                            Form of Assignment Agreement

                                    (See attached)
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                                   TRADEMARK ASSIGNMENT

                  This TRADEMARK ASSIGNMENT (“Assignment”) is entered into as of [●], by
   ALEX AND ANI, LLC a Rhode Island limited liability company (“Assignor”) in favor of
   CAROLYN RAFAELIAN (“Assignee”) and will become automatically effective on the 8th day
   following the occurrence of the earlier of (i) a Sale Transaction (as defined in Investor Matters
   Agreement defined below) (ii) the termination of employment of the Founder (as defined in the
   Investor Matters Agreement defined below) with the Assignor for any reason, the Founder is
   removed or resigns voluntarily, or (iii) two (2) years after the Closing Date (as defined in the
   Investor Matters Agreement defined below), provided, in each case of (i) through (iii), that if the
   release with respect to claims arising under the ADEA (as defined in the Release and Covenant
   Agreement as defined in the Investors Matters Agreement) under the Release and Covenant
   Agreement was revoked by the Founder, the transactions pursuant to this Trademark Assignment
   shall not occur and the parties’ rights and obligations hereunder shall be null and void (the
   “Effective Date”).

                  WHEREAS, Assignor owns all right, title and interest in and to the trademarks and
   tradenames identified and set forth on Schedule A attached hereto, and all goodwill associated
   therewith (collectively, the “Marks”);

                  WHEREAS, pursuant to that certain Investor Matters Agreement, dated as of the
   date hereof, by and among Carolyn Rafaelian, Alex and Ani Pledge Co., LC A&A Intermediate
   Investors LLC, A and A Shareholding Co., LLC and the Assignor (the “Investor Matters
   Agreement”), Assignor shall assign the Marks to the Assignee on the Effective Date;

                  WHEREAS, Assignee is the successor to that portion of the assets of the business
   of the Assignor to which the Marks pertain and such business is ongoing; and

                  WHEREAS, Assignor wishes to assign to Assignee, and Assignee wishes to
   acquire from Assignor, all worldwide right, title and interest in and to the Marks and all goodwill
   associated with the Marks.

                  NOW, THEREFORE, for good and valuable consideration, the receipt, adequacy
   and sufficiency of which are hereby acknowledged, Assignor hereby agrees:

   1.     Assignor hereby irrevocably sells, contributes, transfers, grants, bargains, assigns and
          conveys to Assignee, free and clear of any and all liens and encumbrances, the entire right,
          title and interest in, to and under the Marks, together with the goodwill of the business
          associated therewith, for the United States and for all foreign countries and multi-national
          registration bodies, including, without limitation, any registrations and applications
          therefor, any renewals and extensions of the registrations and all corresponding rights that
          are or may be secured under the laws of the United States or any foreign country, now or
          hereafter arising or in effect, for Assignee’s own use and enjoyment, and for the use and
          enjoyment of Assignee’s successors, assigns and other legal representatives, as fully and
          entirely as the same would have been held and enjoyed by Assignor if this Assignment had
          not been made, together with all rights to collect royalties, products and proceeds in
          connection with any of the foregoing and all rights to sue for past, present or future
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         infringement, misappropriation, unfair competition, dilution or other violation of the
         foregoing, and all rights to recover damages or lost profits in connection therewith, and all
         rights corresponding thereto throughout the world.

   2.    Assignor shall provide Assignee, its successors and assigns, and their legal representatives
         such information, documents and assistance as Assignee or any such other person or entity
         may reasonably request (including, without limitation, execution and delivery of any
         affidavits, declarations, oaths or other documents as may reasonably be required) in
         connection with: (1) the preparation of any application for registration or any application
         for renewal of any Mark; (2) the prosecution or defense of any infringement or other
         proceedings that may arise in connection with any of the Marks including, but not limited
         to, testifying as to any facts relating to the Marks assigned herein and this Assignment;
         (3) obtaining any additional protection for the Marks that Assignee reasonably may deem
         appropriate that may be secured under the laws now or hereafter in effect in the United
         States, foreign countries and multinational authorities; and (4) effectuating and
         implementing this Assignment.

   3.    Assignor hereby represents, warrants and covenants that it has all rights necessary to enter
         into this Assignment, and it has not executed and will not execute any agreement in conflict
         with this Assignment.

   4.    This Assignment shall be governed by and construed and enforced in accordance with the
         laws of the State of New York. The terms of Sections 11.14 and 11.15 of that certain
         Second Lien Credit Agreement by and among the Assignor, A and A Shareholding Co.,
         LLC, certain subsidiaries of the Assignor party thereto, lenders party thereto and
         Wilmington Trust, National Association, dated as of the date hereof, are incorporated
         herein by reference, mutatis mutandis, and the parties hereto agree to such terms.

   5.    This Assignment may be signed in counterparts, each of which shall be deemed an original,
         but all of which together shall constitute one and the same instrument.

   6.    This Assignment is entered into pursuant to the Investor Matters Agreement, to which
         reference is made for any further statement of the rights and obligations of Assignor and
         Assignee with respect to the Marks.

                                [SIGNATURE PAGE FOLLOWS]
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          IN WITNESS WHEREOF, the undersigned have caused this Assignment to be executed
   in Assignor’s name by Assignor’s duly authorized officer as of the date first above written.




                                                    ALEX AND ANI, LLC



                                                    By: ________________________________

                                                    Name:

                                                    Title:




   Acknowledgement:


   CAROLYN RAFAELIAN



   ________________________________
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                                          Schedule A
                                   to Trademark Assignment



        Trademark      Database      Application     Application          Goods and Services
                                      Number           Date
    CURRENT STATE   U.S. Federal   88175407        10/30/2018      (INT. CL. 41) PROVIDING FITNESS
                                                                   INSTRUCTION SERVICES IN THE
                                                                   FIELD OF YOGA; ENTERTAINMENT
                                                                   SERVICES, NAMELY, PROVIDING
                                                                   PODCASTS IN THE FIELD OF YOGA
    CURRENT STATE   U.S. Federal   88175406        10/30/2018      (INT. CL. 35) ON-LINE RETAIL STORE
                                                                   SERVICES FEATURING JEWELRY,
                                                                   WATCHES AND FASHION
                                                                   ACCESSORIES; RETAIL STORE
                                                                   SERVICES FEATURING JEWELRY,
                                                                   WATCHES AND FASHION
                                                                   ACCESSORIES
    CURRENT STATE   U.S. Federal   88175400        10/30/2018      (INT. CL. 28) STRETCH BANDS USED
                                                                   FOR YOGA AND PHYSICAL FITNESS
                                                                   PURPOSES; YOGA BLANKETS; YOGA
                                                                   BLOCKS; YOGA STRAPS, YOGA
                                                                   CUSHIONS AND YOGA GLOVES
    CURRENT STATE   U.S. Federal   88175397        10/30/2018      (INT. CL. 27) BAGS SPECIALLY
                                                                   ADAPTED FOR YOGA MATS; YOGA
                                                                   MATS AND YOGA TOWELS
                                                                   SPECIALLY ADAPTED FOR YOGA
                                                                   MATS
    CURRENT STATE   U.S. Federal   88175396        10/30/2018      (INT. CL. 25) SCARVES; SHIRTS;
                                                                   TOPS; WOMEN'S CLOTHING,
                                                                   NAMELY, SHIRTS, DRESSES, SKIRTS,
                                                                   BLOUSES; ATHLETIC TOPS AND
                                                                   BOTTOMS FOR YOGA
    CURRENT STATE   U.S. Federal   88175391        10/30/2018      (INT. CL. 18) HANDBAGS, PURSES,
                                                                   WALLETS, BACKPACKS, TOTE BAGS,
                                                                   BEACH BAGS, SPORTS BAGS,
                                                                   DUFFEL BAGS, TRAVEL BAGS
    CURRENT STATE   U.S. Federal   88175375        10/30/2018      (INT. CL. 14) JEWELRY AND
                                                                   WATCHES
    CURRENT STATE   U.S. Federal   88175370        10/30/2018      (INT. CL. 3) COLOGNES; COSMETICS
                                                                   AND NON-MEDICATED SKIN CARE
                                                                   PREPARATIONS, NAMELY, FACE
                                                                   CREAM, NIGHT FACE CREAM,
                                                                   LIPSTICK, LIP DYE, COSMETIC LIP
                                                                   VOLUME MAXIMIZERS, LIP GLOSS,
                                                                   LIP MOISTURIZER, MASCARA, EYE
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       Trademark      Database     Application     Application          Goods and Services
                                    Number           Date
                                                                 SHADOW, EYE LINER, EYE CREAM,
                                                                 SACHET LIKE EYE PILLOWS
                                                                 CONTAINING FRAGRANCE, SKIN
                                                                 MOISTURIZERS, BODY SPRAY, BODY
                                                                 LOTION, FACE SPRAY, FACE LOTION,
                                                                 PERFUME, COLOGNE, NAIL
                                                                 ENAMEL, NAIL CONDITIONER, SKIN
                                                                 CREAMS AND SKIN LOTIONS, FACE
                                                                 MAKEUP, PRESSED POWDER,
                                                                 SCENTED LIP GLOSS, BODY SCRUB,
                                                                 SOAPS, BATH OIL, SHOWER GEL,
                                                                 BODY SPLASH, LOOSE FACE AND
                                                                 BODY POWDERS, FACE AND BODY
                                                                 GELS, TONERS, CLEANSERS, MASKS,
                                                                 PEELS, BODY POLISH AND FOOT
                                                                 SCRUBS; LIP BALM; NON-
                                                                 MEDICATED HAIR CARE
                                                                 PREPARATIONS, NAMELY,
                                                                 SHAMPOOS, CONDITIONERS AND
                                                                 OILS; ROOM FRAGRANCE SPRAY
    TRIALCHEMY     U.S. Federal   88131620       9/25/2018       (INT. CL. 14) JEWELRY
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                                                                        Exhibit B

                   Form of Release and Restrictive Covenant Agreement

                                     (See attached)
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                  RELEASE AND RESTRICTIVE COVENANT AGREEMENT


          This RELEASE AND RESTRICTIVE COVENANT AGREEMENT (this “Agreement”),
   dated as of [●], is entered into by and among LC A&A Intermediate Investors LLC (“Lion”), a
   Delaware limited liability company, Alex and Ani Pledge Co., a Rhode Island corporation
   (“Pledge Co.”), Carolyn Rafaelian (together with her affiliated vehicles, including Pledge Co.,
   the “Founder”) (each of Lion and the Founder, an “Investor”, and together, the “Investors”), A
   and A Shareholding Co., LLC, a Delaware limited liability company (the “Company”), and Alex
   and Ani, LLC, a Delaware limited liability company (“Alex and Ani”, and each of the Investors,
   the Founder, the Company and Alex and Ani a “Party”, and collectively, the “Parties”).

          WHEREAS, on August [●], 2019, the Parties have entered into that certain Investor
   Matters Agreement (the “Investor Matters Agreement”);

           WHEREAS, pursuant to the Investor Matters Agreement, concurrently herewith the
   Parties are entering into the Assignment Agreement (as defined in the Investor Matters
   Agreement), pursuant to which, subject to the terms and conditions therein, certain intellectual
   property of Alex Ani shall be transferred and assigned to the Founder (the “IP Transfer”);

          WHEREAS, on [___________], the Founder’s employment with the Company and its
   subsidiaries has been terminated;

         WHEREAS, as a condition precedent to and consideration for the IP Transfer, the
   Founder agrees to enter into the agreements, covenants and release of claims set forth in this
   Agreement, in each case, in accordance with and subject to the terms hereof;

          WHEREAS, the Founder acknowledges and agrees that it would be detrimental to the
   business and affairs of the Company and Alex and Ani (including, without limitation, the goodwill
   associated with the Company and its subsidiaries and its established employee relationships), if
   the Founder engaged in the conduct expressly prohibited by this Agreement;

          WHEREAS, the Company, Alex and Ani and Lion have required, as a condition to the
   consummation of the IP Transfer, that the Founder execute and deliver this Agreement, and the
   Founder is executing and delivering this Agreement in order to induce such Parties to enter into
   the Assignment Agreement and consummate the IP Transfer, with all of the attendant financial
   and other benefits to the Founder; and

           WHEREAS, the Founder acknowledges that the delivery of this Agreement to the other
   Parties thereof is a material element of the IP Transfer and this Agreement is executed by the
   Founder to protect the legitimate interests of the Company, Alex and Ani and Lion in the business,
   goodwill and established relationships of the Company and its subsidiaries.

           NOW, THEREFORE, in consideration of the premises and mutual promises contained
   herein and for other good and valuable consideration, the receipt and sufficiency of which are
   hereby acknowledged, the parties hereto agree as follows:
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          1.      Termination of Employment; Resignation.

                  (a)    Separation Date. The Founder acknowledges and agrees that her
   separation from the Company and its subsidiaries was effective as of ___________, 20XX (the
   “Separation Date”).

                 (b)     Wages Fully Paid. The Founder acknowledges and agrees that she has
   received payment in full for all salary and other wages, including without limitation any accrued,
   unused vacation or other similar benefits earned through the Separation Date.

                   (c)     Resignation. The Founder acknowledges and agrees that by executing this
   Agreement she shall be deemed to have resigned from all offices and positions she holds on the
   Separation Date with the Company and/or its subsidiaries and affiliates, whether as an employee,
   officer, director, agent, fiduciary, or otherwise [, other than the Founder’s position as a member
   of the board of managers of the Company].

          2.      Release.

                   (a)     For and in consideration for the IP Transfer, effective upon the execution
   of this Agreement, the Founder, on the Founder’s own behalf and on behalf of the Founder’s
   predecessors, successors, successors-in-interest, assigns, heirs, estate, and assigns (“Releasors”),
   voluntarily, knowingly, and willingly releases and forever discharges Lion and each of its current
   and former subsidiaries, affiliates, parents, shareholders, members, and owners, together with
   each of those entities’ respective current and former officers, directors, managers, shareholders,
   members, owners, employees, agents, fiduciaries, and administrators (collectively, the “Lion
   Releasees”), and the Company and each of its current and former subsidiaries, affiliates, parents,
   shareholders, members, and owners, together with each of those entities’ respective current and
   former officers, directors, managers, shareholders, members, owners, employees, agents,
   fiduciaries, and administrators (collectively, the “Company Releasees”), from any and all Claims
   and rights of any nature whatsoever that the Releasors now has or in the future may have against
   them, for any act, omission, or event occurring up to and including the date of this
   Agreement. For all purposes of this Agreement, “Claims” shall mean all claims (including,
   without limitation, crossclaims, counterclaims, and rights of setoff and/or recoupment), actions,
   causes of action, charges, complaints, suits, investigations, proceedings, debts, dues, sums of
   money, accounts, reckonings, interests, liens, liabilities, promises, warranties, damages,
   demands, agreements, bonds, bills, specialties, covenants, controversies, variances, trespasses,
   judgments, extents, executions, rights, torts, losses, rights to reimbursement, subrogation,
   contribution, indemnification or other payment, attorneys’ fees, costs, expenses or other claims
   of whatever nature or kind, in each case whether direct or derivative, liquidated or unliquidated,
   fixed or contingent, matured or unmatured, known or unknown, suspected or unsuspected,
   accrued or unaccrued, direct or indirect, foreseen or unforeseen, now existing or hereafter
   arising, in law, equity, or otherwise.

                   (b)    This release includes, but is not limited to, any rights or claims relating in
   any way to Founder’s employment relationship with the Company or any of the other Company
   Releasees or the termination thereof, any contract claims (express or implied, written or oral), or
   any rights or claims under any statute, including, without limitation, the Americans with


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   Disabilities Act, the Age Discrimination in Employment Act (“ADEA”, a law which prohibits
   discrimination on the basis of age), the Older Workers’ Benefit Protection Act, the Rehabilitation
   Act of 1973 (including Section 504 thereof), Title VII of the 1964 Civil Rights Act, the Civil
   Rights Act of 1866 (42 U.S.C. § 1981), the Civil Rights Act of 1991, the Equal Pay Act, the
   National Labor Relations Act, the Worker Adjustment and Retraining Notification Act, the
   Family Medical Leave Act, the Lilly Ledbetter Fair Pay Act, the Genetic Information Non-
   Discrimination Act, the New York State Human Rights Law, the New York City Human Rights
   Law, and the Employee Retirement Income Security Act of 1974, all as amended, and any other
   federal, state, or local law.

                   (c)      This release specifically includes, but is not limited to, any claims based
   upon any right to the payment of wages, incentive and performance compensation, bonuses,
   equity grants, carried interest points, vacation, pension benefits, 401(k) plan benefits, stock
   benefits, or any other employee benefits, or any other rights arising under federal, state, or local
   laws prohibiting discrimination or harassment on the basis of race, color, age, religion, sexual
   orientation, religious creed, sex, national origin, ancestry, alienage, citizenship, nationality,
   mental or physical disability, denial of family and medical care leave, medical condition
   (including cancer and genetic characteristics), marital status, military status, gender identity, or
   any other basis prohibited by law. The Founder understands that the releases set forth herein
   includes a release of claims arising under the ADEA. The Founder hereby acknowledges and
   understands that, with respect to the release of claims under the ADEA only, the Founder shall
   have seven (7) days after executing this Agreement to revoke the release of claims under the
   ADEA. The Founder acknowledges that the Founder has been advised that the Founder has
   twenty-one (21) days from the date of receipt of this Agreement to consider all the provisions of
   this Agreement and to the extent the Founder signs this Agreement prior to the expiration of such
   period the Founder does hereby knowingly and voluntarily waive the remaining portion of such
   twenty-one (21) day period. Nothing in this Section 2 shall prevent the Founder from (i)
   initiating or causing to be initiated on the Founder’s behalf any complaint, charge, claim or
   proceeding before any local, state or federal agency, court or other body challenging the validity
   of the waiver of the Founder’s claims under ADEA contained in this Section 2 (but no other
   portion of such waiver) or (ii) initiating or participating in an investigation or proceeding
   conducted by the Equal Employment Opportunity Commission (provided that the Founder
   waives any right she may have to benefit in any manner from any relief (whether monetary or
   otherwise) arising out of any such or proceeding). The Founder acknowledges that she has read
   the release set forth in this Section 2 carefully, has been advised by the Company to, and has in
   fact, consulted an attorney and fully understands that by signing below the Founder is giving up
   certain rights which she may have to sue or assert a claim against any of the Lion Releasees or
   Company Releasees, as described in this Section 2 and the other provisions hereof. The Founder
   acknowledges that she has not been forced or pressured in any manner whatsoever to sign the
   release set forth in this Section 2, and the Founder agrees to all of its terms voluntarily.
   Notwithstanding the foregoing, nothing herein, however, shall constitute a waiver of rights,
   obligations or claims (x) arising out of or relating to acts or omissions occurring after the date of
   this Agreement, (y) under this Agreement (including claims for breach of this Agreement), or (z)
   that cannot be waived by applicable law.

                 (d)    The Founder expressly acknowledges that the release set forth in this
   Agreement is intended to include in its effect, without limitation, claims that the Founder did not


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   know or suspect to exist in her favor at the time of execution hereof, regardless of whether the
   knowledge of such claims, or the facts upon which they might be based, would materially have
   affected the settlement of this matter, and that the consideration given under this Agreement is
   also for the release of those claims and contemplates the extinguishment of any such unknown
   claims. In furtherance of this settlement, the Founder waives any rights she may have under
   California Civil Code Section 1542 (and other similar statutes and regulations). Section 1542
   states:

                  “A general release does not extend to claims that the creditor or releasing party
                  does not know or suspect to exist in his or her favor at the time of executing the
                  release and that, if known by him or her, would have materially affected his or her
                  settlement with the debtor or released party.”

                   (e)     The Founder affirms and warrants that she has made no assignment of any
   right or interest in any Claim that she may have against any of the Lion Released Parties or
   Company Released Parties.

           3.       Restrictive Covenants. As a condition precedent to and in consideration for the
   IP Transfer pursuant to the Assignment Agreement and the transactions contemplated thereby,
   the Founder hereby agrees that it shall not, for a period beginning on the date hereof and ending
   three (3) years from the date hereof (the “Restricted Period”; provided, however, in the event of
   any breach by the Founder of any of the restrictive covenants contained in this Section 3, the
   Restricted Period shall be extended by each day that the Founder is in breach of such covenant in
   order that the Company and its subsidiaries and Lion shall receive the full benefit of the
   Founder’s compliance with each of the covenants contained in this Section 3), directly or
   indirectly, (i) solicit, knowingly encourage, or induce any individual who is then an officer or
   employee of the Company or any subsidiaries thereof to terminate their employment with the
   Company or any subsidiaries thereof, or (ii) hire, engage or employ any individual who is then,
   or who was during the twelve (12) month period immediately preceding the date of hire,
   engagement or employment, an officer or employee of the Company or any of its subsidiaries;
   provided, that for the avoidance of doubt, a general solicitation (including, but not limited to, the
   advertisement of job openings by use of newspapers, magazines, the internet and other media) or
   the use of search firms for solicitations, in each case, not specifically directed at such officers or
   employees shall not constitute a breach of this Agreement. Notwithstanding the foregoing, the
   Founder shall be permitted to solicit and hire up to three (3) then current employees of the
   Company and/or its subsidiaries upon providing the Company with a written notice at least (10)
   days in advance of such solicitation or hire setting forth the names of the employees which the
   Founder intends to so solicit or hire.

            4.     Acknowledgement Respecting Restrictive Covenants. With respect to the
   restrictive covenants set forth in Section 3 hereof, the Founder acknowledges and agrees that the
   restrictions contained in this Agreement are reasonable in scope and duration in light of the
   purpose and intent of this Agreement and the consideration to the Founder and are necessary to
   protect the Company, its subsidiaries and Lion and that such parties are relying on the Founder’s
   entry into the restrictions in this Agreement as a material condition to the IP Transfer. The
   Parties intend that the covenants of this Agreement shall be deemed to be a series of separate
   covenants, one for each month for the applicable period following the Closing Date. If, for any


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   reason any governmental authority determines that the restrictions in this Agreement are not
   reasonable, overbroad or unenforceable or that the consideration is inadequate in any jurisdiction
   or context, such restrictions shall be interpreted, modified or rewritten to include as much of the
   duration and scope as will render such restrictions valid and enforceable. The Parties agree that
   the restrictive covenants contained in this Agreement shall be enforced independently of any
   other obligations among the Parties, and that the existence of any other claim or defense shall not
   affect the enforceability of this Agreement or the remedies hereunder. It is further agreed that it
   is impossible to measure in money the damages that will be suffered by the Company, its
   subsidiaries and Lion in the event that the Founder breaches any of the restrictions contained in
   this Agreement. Therefore, if the Company, its subsidiaries or Lion shall institute any action to
   enforce any such restriction, the Founder hereby waives the claim or defense that such parties
   have an adequate remedy at law and agrees not to assert in any such action the claim or defense
   that such parties has an adequate remedy at law. The Founder agrees that in the event it breaches
   or threatens to breach this Agreement, the Company, its subsidiaries and Lion will be entitled to
   specific performance of the terms of this Agreement, in addition to any other remedy to which it
   is entitled at law or in equity. This Section 4 shall survive any termination of this Agreement.

           5.      Effective Date; Termination. This Agreement shall be effective on the date
   hereof; provided, that in the event that the Founder revokes the release with respect to claims
   arising under the ADEA in accordance with Section 2(c), then the IP Transfer shall not be
   consummated and this Agreement and the Assignment Agreement shall each automatically
   terminate in its entirety and be of no further force and effect, other than the provisions of Section
   1 of this Agreement.

          6.      Other Provisions.

                   (a)    Entire Agreement. This Agreement together with the Assignment
   Agreement represent the entire understanding and agreement between the parties hereto with
   respect to the subject matter hereof and supersede all prior agreements, written or oral, with
   respect thereto.

                   (b)     Waivers and Amendments. This Agreement may only be amended,
   modified or supplemented by an agreement in writing signed by each Party. No waiver by any
   Party of any of the provisions hereof shall be effective unless explicitly set forth in writing and
   signed by the Party so waiving. No waiver by any Party shall operate or be construed as a
   waiver in respect of any failure, breach or default not expressly identified by such written
   waiver, whether of a similar or different character, and whether occurring before or after that
   waiver. No failure to exercise, or delay in exercising, any right, remedy, power or privilege
   arising from this Agreement shall operate or be construed as a waiver thereof; nor shall any
   single or partial exercise of any right, remedy, power or privilege hereunder preclude any other
   or further exercise thereof or the exercise of any other right, remedy, power or privilege.

                  (c)     Governing Law. This Agreement, and all claims or causes of action
   (whether in contract or tort) that may be based upon, arise out of or relate to this Agreement or
   the negotiation, execution or performance of this Agreement, will be governed by and construed
   in accordance with the Laws of the State of Delaware without giving effect to principles or rules



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   of conflict of laws to the extent such principles or rules would require or permit the application
   of Laws of another jurisdiction.

                   (d)     Process. Each Party hereby consents to process being served by any Party
   to this Agreement in any suit, action or proceeding by delivery of a copy thereof to the address
   set forth next to such Party’s signature in the signature pages attached hereto.

               (e)   Waiver of Jury Trial. EACH PARTY ACKNOWLEDGES AND
   AGREES THAT ANY CONTROVERSY WHICH MAY ARISE UNDER THIS AGREEMENT
   IS LIKELY TO INVOLVE COMPLICATED AND DIFFICULT ISSUES AND, THEREFORE,
   EACH SUCH PARTY IRREVOCABLY AND UNCONDITIONALLY WAIVES ANY RIGHT
   IT MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY LEGAL ACTION ARISING
   OUT OF OR RELATING TO THIS AGREEMENT. EACH PARTY TO THIS AGREEMENT
   CERTIFIES AND ACKNOWLEDGES THAT (A) NO REPRESENTATIVE OF ANY OTHER
   PARTY HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER
   PARTY WOULD NOT SEEK TO ENFORCE THE FOREGOING WAIVER IN THE EVENT
   OF A LEGAL ACTION, (B) SUCH PARTY HAS CONSIDERED THE IMPLICATIONS OF
   THIS WAIVER, (C) SUCH PARTY MAKES THIS WAIVER VOLUNTARILY, AND
   (D) SUCH PARTY HAS BEEN INDUCED TO ENTER INTO THIS AGREEMENT BY,
   AMONG OTHER THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS
   WAIVER OF JURY TRIAL.

                  (f)     Specific Performance. The parties agree that irreparable damage would
   occur if any provision of this Agreement were not performed in accordance with the terms hereof
   and that money damages or legal remedies would not be an adequate remedy for any such
   damages and it is accordingly agreed that the Buyer shall be entitled to specific performance of
   the terms hereof, in addition to any other remedy to which it is entitled at law or in equity, and in
   seeking an injunction, a decree or order of specific performance, it shall not be required to
   provide any bond or other security in connection therewith.

                   (g)     No Third Party Beneficiaries; No Assignment. This Agreement is for the
   sole benefit of the parties hereto and their respective successors and permitted assigns and
   nothing herein, express or implied, is intended to or shall confer upon any other person any legal
   or equitable right, benefit or remedy of any nature whatsoever under or by reason of this
   Agreement. This Agreement shall be binding upon and shall inure to the benefit of the parties
   hereto and their respective successors and permitted assigns. No Party may assign its rights or
   obligations hereunder without the prior written consent of the other parties, which consent shall
   not be unreasonably withheld or delayed. No assignment shall relieve the assigning Party of any
   of its obligations hereunder.

                   (h)    Counterparts. This Agreement may be executed in counterparts, each of
   which shall be deemed an original, but all of which together shall be deemed to be one and the
   same agreement. A signed copy of this Agreement delivered by facsimile, e-mail or other means
   of electronic transmission shall be deemed to have the same legal effect as delivery of an original
   signed copy of this Agreement.




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                    (i)    Severability. If any term or provision of this Agreement is invalid, illegal
   or unenforceable in any jurisdiction, such invalidity, illegality or unenforceability shall not affect
   any other term or provision of this Agreement or invalidate or render unenforceable such term or
   provision in any other jurisdiction. Upon such determination that any term or other provision is
   invalid, illegal or unenforceable, the parties hereto shall negotiate in good faith to modify this
   Agreement so as to effect the original intent of the parties as closely as possible in a mutually
   acceptable manner in order that the transactions contemplated hereby be consummated as
   originally contemplated to the greatest extent possible.

                                        [Signature Page Follows]




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           IN WITNESS WHEREOF, the Parties have caused this Agreement to be duly executed
   as of the date first set forth above.



         CAROLYN RAFAELIAN



         By: ______________________________



         ALEX AND ANI PLEDGE CO.



         By: ______________________________



         LC A&A INTERMEDIATE INVESTORS LLC



         By: ______________________________
         Name:
         Title:



         A AND A SHAREHOLDING CO., LLC



         By: ______________________________
         Name:
         Title:



         ALEX AND ANI, LLC



         By: ______________________________
         Name:
         Title:



                 [Signature Page to Release and Restrictive Covenant Agreement]
